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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    HANNAH R. LABAREE, #294338
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     MARTY MARCIANO BOONE
6
7                                     UNITED STATES DISTRICT COURT
8                                   EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                     )   Case No. 2:16-cr-020 TLN
                                                   )
10                           Plaintiff,            )   STIPULATION AND ORDER TO
                                                   )   CONTINUE BRIEFING SCHEDULE AND
11         v.                                      )   MOTION HEARING
                                                   )
12   MARTY MARCIANO BOONE and                      )   Date: January 11, 2018
     RONDA BOONE,                                  )   Time: 9:30 a.m.
13                                                 )   Judge: Hon. Troy L. Nunley
                             Defendants.           )
14
15           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
16   Attorney, through Jared Dolan Assistant United States Attorney, attorney for Plaintiff, and
17   Heather Williams, Federal Defender, through Assistant Federal Defender, Hannah R. Labaree,
18   attorneys for Marty Marciano Boone, and Ronda Boone, appearing in Pro Per, that the motions
19   hearing be continued from January 11, 2018 to January 18, 2018 at 9:30 a.m.
20           Further the parties request that the briefing schedule be continued as follows:
21           Any government opposition should be filed on or before December 21 2017.
22           Any reply briefs to the government’s opposition should be filed on or before January 4,
23           2018.
24           Speedy trial time has previously been excluded until April 9, 2018 under 18 U.S.C. §
25   3161 (h)(7)(B) (iv) (Local Code T4). The parties stipulate to the exclusion of time under 18
26   U.S.C. § 3161 (h)(7)(B) (iv) (Local Code T4) for defense preparation until April 9, 2018.
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      Stipulation and Order to Continue Briefing       -1-
      Schedule
     Case 2:16-cr-00020-TLN-DB Document 79 Filed 12/12/17 Page 2 of 3


1    IT IS SO STIPULATED.                          Respectfully submitted,
2                                                  HEATHER E. WILLIAMS
                                                   Federal Defender
3
4    DATED: December 11, 2017                      /s/ Hannah R. Labaree
                                                   HANNAH R. LABAREE
5                                                  Assistant Federal Defendant
                                                   Attorney for Defendant
6                                                  MARTY MARCIANO BOONE
7
     DATED: December 11, 2017                      /s/ Ronda Boone
8                                                  RONDA BOONE
                                                   In Pro Per
9
     DATED: December 11, 2017                      PHILLIP A. TALBERT
10                                                 United States Attorney
11
                                                   /s/ Jared Dolan
12                                                 JARED DOLAN
                                                   Assistant United States Attorney
13                                                 Attorney for Plaintiff
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      Stipulation and Order to Continue Briefing     -2-
      Schedule
     Case 2:16-cr-00020-TLN-DB Document 79 Filed 12/12/17 Page 3 of 3


1                                                     ORDER
2                The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
4    Court finds that the ends of justice to be served by granting the trial continuance outweigh the
5    best interests of the public and defendant in a speedy trial. Under the Speedy Trial Act, pursuant
6    to 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4) time is excluded until April 9, 2018, the date
7    of trial.
8                It is further ordered that the briefing schedule is continued as forth above and the motions
9    to be heard on January 18, 2018 at 9:30 a.m., is as continued as stipulated.
10
11   Dated: December 12, 2017
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13
                                                                Troy L. Nunley
14                                                              United States District Judge

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      Stipulation and Order to Continue Briefing         -3-
      Schedule
